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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    MARISSA GLOVER,                                 Case No.: 3:16-cv-01784-BEN-BLM
12                                     Plaintiff,
                                                      ORDER GRANTING JOINT
13    v.                                              MOTION TO DISMISS
                                                      DEFENDANT EXPERIAN
14    JPMORGAN CHASE BANK, N.A., et al.,
                                                      INFORMATION SOLUTIONS, INC.
15                                  Defendants.
16
17          The Court has considered the Joint Motion for Dismissal with Prejudice (the "Joint
18    Motion") filed by Plaintiff Marissa Glover and Defendant Experian Information
19    Solutions, Inc. ("Experian"). (Docket No 41.)
20          For good cause shown, the Joint Motion is GRANTED. Defendant Experian is
21    DISMISSED WITH PREJUDICE from the action. Each party shall bear its own fees
22    and costs.
23          IT IS SO ORDERED.
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25    DATED:       Marcl~l 7
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                                                    United States District Judge
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